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IN Tl'[E UNIT'ED STATES DISTR.ICT COURT FOR 'I`HE
SOUTHERN DISTRICT OF NHSSISS[PPI
EASTERN DIVISION
H'UMAN R!GH'I`S DEFENSE CENTER,
Plaintiff, Case No.: 2:18-cv-00]84~KS-M'I`P
v.

FORR.BST COUNTY, MISSISSIPPI, et al.,

Defendants.

 

ST[PULATED INJUNCTION

This Stipulated lnjunction (hcreinaficr referred to as the “lnjunction") is entered pursuant
to the stipulation and agreement cf the Pa.xties, Piaintiff Human Rights Defense Center md the
Defendnnt:s, Forrest County, Mississippi and Sherii`f Billy Mche. On Octobcr 24, 20181 the
Human Rights Defeose Center filed this action against Forrest County, Mississippi and Shetift`
Biliy McGee (the “Defcndants"). Thc Complaint alleges that Det'cndants violated P]nintifi’s First
and Fourteenth Arnendment rights when they rejected publications and other correspondence
mailed by Plaintiff to inmates at the Forrest County Jail (the “Ja.il”), including the Plaintiff‘s award-
winning magazine Pri.ron Legal' News, as well as a guide to correspondence courses and other
materials, because of the Jail’s practice of restricting reading materials to the Hible and other
religious materials

The Court finds that the public interest is served by this Injunction1 which protects the
constitutional rights of publishers and other persons who correspond with prisoners by mail, and
the right of prisoners to send and receive mail. The Court further finds that this case concerns the
First and Fourteenth Amendment rights of a publisher, and is therefore ncta case concerning prison

conditions as defined in the Prison Litigation Rof`orrn Act of 1996. Finaliy, the Court inds that

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the relief contained in this Injunction is narrowly drawn, extends no further then necessary to
correct the harm to HRDC, and is the least intrusive means necessary to correct that harm.

!n light of the foregoing, the Court hereby ORDERS as follows:

l. Defendants shall permit book stores, publishers, book clubs, and other recognized
distributors to send to inmates -- and permit inmates to receive and read - sod-cover hooks,
newspapers, magazines, and other correspondence and printed materials whether they are religious
or non-religious Defendants may not limit the acceptable publications to Bibles or to religious
materials The only basis for Dei'endants to refuse to deliver a publication or printed material to
an inmate is if the publication or materials are inconsistent with the legitimate penological interests
of the Jail.

2, Whenever authorities at the Jail refuse to deliver any publication or printed material or
other correspondence sent to a prisoner at the Jail for any reason, Jaii personnel shall place into
the mail a written notice to the sender within three (3) business days of making an initial mail
rejection decision The notice shall include the name and address of the sender as well as the
name(s) of the intended recipient(s), a description of the refused item of mail, a citation to the
objectionable portion of the publication or correspondence, and a citation to the Iail rule violated
. The notice shall also inform the sender of their right to appeal the decision, and include the name
and address of the person to whom such appeals should be addressed and the date by which appeals
must he submitted The notice shall also be given to the intended prisoner-recipient of the mail.
The refused itern(s) will be retained by the lail in accordance with the appeal process established
by the ran

3. Defendant Billy Mche and his agents, assigns, employees, deputies, and successors

will establish, implement and enforce policies and procedures that will fully effectuate the terms

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of this Injunction.

4. It is further agreed that within five (5) days of the date of enny of the Injunction by the
Court, Defendant Billy McGee will disseminate a copy of the Notice attached hereto as Exhibit A
to all employees of the lail, as well as to all persons in custody at the Jail, and that the terms of
this Injunction will be fully implemented by all Jsil staff persons Further, a copy of this lnjunction
and the Notice shall be available to prisoners in the Jail‘s library, and copies of the Notice shall be
posted in the common areas of the Jaii for a period of` ninety (90) days after the date of entry of
the Injunction by the Court.

5. The .l'ail shall conduct nn appropriate training session with all staff persons who are
responsible for any part ofthe receipt, collection, and delivery ofU.S. Mail to prisoners at the Jail
about the contents of this lnjunction and the best practices for successful compliance herewith
The naming will include a presentation by an attorney for Forrest County or the Forrest County
Sheriti"s Departmcnt regarding the requirements of this injimcn'on and shall include distribution
of the notice attached hereto as Frhibit A, and shall inform the staff that if the injunction is not
followed, the Court could impose penalties upon Jail supervisors and staff. Defendants shall file
with the Court a notice that said mining has been conducted within fourteen (14) days of the entry
Of the Injtmotion by the Court, and they shall provide a copy of any written materials used for such
training to HRDC’s counsel at the time of iiling.

6. No person who has notice of this Injunction shall fail to comply with it, nor shell any

person subvert this Injunction by any sham, indirection, or other artifice

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Stipuln.ted and Agreed to:

David Hogan, Presid

Fon'est Coun Bon:tl of Supervisors

 

 

 

 

- PL ii
Dated this day of Jan\IF?, 2019.

APPROVED and ORDBRED:

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UNITED STATES DISTRICT .TUDGE

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